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                                        ATTACHMENT B

                                    DAMAGES WORKBOOK

   I.      PURPOSE

   To show the math behind Pelco’s claimed alternative equipment costs from page 12 of its

Response Brief.

   II.     FACTS

   According to Ex. 412, MJ’s originally-claimed equipment totals for every week following the

arm failure were as follows:

    WEEK ENDING                                   MJ’s Claimed Equipment Costs

    12-07-14                                      $49,682.45

    12-14-14                                      $101,518.88

    12-21-14                                      $65,017.60

    12-28-14                                      $56,316.12

    01-04-15                                      $55,260.92

    01-11-15                                      $59,137.52

    01-18-15                                      $54,930.00

    01-25-15                                      $54,930.00

    02-01-15                                      $54,930.00

    02-08-15                                      $54,930.00

    02-15-15                                      $54,930.00


   In order for MJ to demobilize and remobilize its equipment, it would incur a $37,500 charge.

Conklin 889:6-891:21.
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   III.       ADJUSTMENTS

          At trial, ComEd removed the following amounts from its equipment costs:

          •   $115,496.68 “for equipment due to overlap with work anticipated before the arm
              failure.” Exelon’s Brief, p. 14 FN 11; JSF ¶ 121
          •   $2,005.84 “due to a ‘transfer’ difference.” Exelon’s Brief, p. 14 FN 11.
          •   $4,207.52 related to the week ending January 11, 2015. Ex. 519:0015.

          Reducing the January 11, 2015 equipment costs by $4,207.52 results in the following

   adjustment:

     01-11-15                                        $54,930



   IV.        ASSUMPTIONS

          The transfer difference of $2,005.84 relates to MJ’s February invoice. See Exs. 236:0001-

02 and 410. I have therefore assumed the $2,005.84 related to MJ’s last February entry, which

results in the following adjustment:

     02-15-15                                        $52,924.16



          For the $115,496.68 overcharge, Mark Hosfield was unable to identify how MJ’s first six

weeks of equipment totals should be reduced to reflect these excess equipment charges. Hosfield

645:2-650:4. He testified that “I don’t know which weeks it came out of.” (Hosfield 647:3-7) and

that he removed the amounts “in aggregate.” (Hosfield 647:12-23). He also testified that “I think

the farther down we get into these, the more likely they are to be accurate, but I don’t know.”

Hosfield 648:1-8.

          Because Mr. Hosfield removed $115,496.68 in aggregate from MJ’s first six weeks of

equipment costs, and because he thought the earlier totals were more likely to be inaccurate, I have

assumed that $115,496.68 should be removed from the total making up MJ’s equipment costs for
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the first three weeks (through the week ending 12-21-14). These assumptions and adjustments

leaves us with new equipment costs that we will use going forward:

        WEEK ENDING                    CLAIMED COSTS                 ADJUSTED COSTS

            12-07-14                        $49,682.45                     N/A

            12-14-14                       $101,518.88                     N/A

            12-21-14                        $65,017.60                     N/A

        Equipment Total                    $216,218.93                  $100,722.25

       Through 12-21-14



        WEEK ENDING                    CLAIMED COSTS                 ADJUSTED COSTS

            12-28-14                        $56,316.12                  $56,316.12

            01-04-15                        $55,260.92                  $55,260.92

            01-11-15                        $59,137.52                  $54,930.00

            01-18-15                        $54,930.00                  $54,930.00

            01-25-15                        $54,930.00                  $54,930.00

            02-01-15                        $54,930.00                  $54,930.00

            02-08-15                        $54,930.00                  $54,930.00

            02-15-15                        $54,930.00                  $52,924.16

        Equipment Total                    $445,364.56                  $439,151.20

          from 12-28-14

       Through 02-15-15
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   V.      CALCULATIONS

Scenario I – ComEd Demobilized MJ’s equipment on December 19, 2014.

   •    MJ’s equipment costs of $100,722.25 through the week ending 12-21-14 would have the

        50% monthly rate applied, which would equal $50,361.12.

   •    MJ would have incurred $37,500 for the demobilization/remobilization.

   •    MJ would have incurred $768.60/week for the 8 weeks after the week ending 12-21-14 for

        the three pieces of specialized equipment that should have remained on site, totaling

        $6,148.80

   •    RESULT – ComEd’s Equipment Costs would total $94,009.92


Scenario II – ComEd Demobilized MJ’s equipment on January 5, 2015.

   •    MJ’s equipment costs of $100,722.25 through the week ending 12-21-14 would have the

        50% monthly rate applied, which would equal $50,361.12.

   •    MJ’s additional equipment costs of $166,507.04 through the week ending 01-11-15 would

        have the 50% monthly rate and 34% idle rate applied, which would equal $28,306.20.

   •    MJ would have incurred $37,500 for the demobilization/remobilization.

   •    MJ would have incurred $768.60/week for the 5 weeks after the week ending 01-11-15 for

        the three pieces of specialized equipment that should have remained on site, totaling

        $3,843.00

   •    RESULT – ComEd’s Equipment Costs would total $120,010.32


Scenario III – ComEd Demobilized MJ’s equipment on January 15, 2015.

   •    MJ’s equipment costs of $100,722.25 through the week ending 12-21-14 would have the

        50% monthly rate applied, which would equal $50,361.12.
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   •   MJ’s additional equipment costs of $221,437.04 through the week ending 01-18-15 would

       have the 50% monthly rate and 34% idle rate applied, which would equal $37,644.30.

   •   MJ would have incurred $37,500 for the demobilization/remobilization.

   •   MJ would have incurred $768.60/week for the 4 weeks after the week ending 01-18-15 for

       the three pieces of specialized equipment that should have remained on site, totaling

       $3,074.40

   •   RESULT – ComEd’s Equipment Costs would total $128,579.82.


Scenario IV – Rather than Demobilizing, ComEd utilized Monthly Rates.

   •   MJ’s equipment costs of $100,722.25 through the week ending 12-21-14 would have the

       50% monthly rate applied, which would equal $50,361.12.

   •   MJ’s additional equipment costs of $439,151.20 through the week ending 02-15-15 would

       also have the 50% monthly rate applied, which would equal $219,575.60.

   •   RESULT – ComEd’s Equipment Costs would total $269,936.72


Scenario V – Rather than Demobilizing, ComEd utilized Monthly and Idle Rates.

   •   MJ’s equipment costs of $100,722.25 through the week ending 12-21-14 would have the

       50% monthly rate applied, which would equal $50,361.12.

   •   MJ’s additional equipment costs of $439,151.20 through the week ending 02-15-15 would

       have the 50% monthly rate and 34% idle rate applied, which would equal $74,655.70.

   •   RESULT – ComEd’s Equipment Costs would total $125,016.82
